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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION

 STUDENTS FOR FAIR ADMISSIONS, INC.,
           Plaintiff,
      v.
                                                             Civil Action No. 1:14-cv-14176-ADB
 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,
           Defendant.


                         PLAINTIFF SFFA’S MOTIONS IN LIMINE

I.     MOTION IN LIMINE NO. 1: TO PRECLUDE HARVARD FROM CALLING
       EDWARD BLUM AS A WITNESS

       Harvard wants to shift the focus of this trial onto anything but its own admissions practices.

As one of the many attempts to turn the spotlight away from itself, Harvard has disclosed its

intention to call Edward Blum as a witness. (See Ex. 1.) Mr. Blum serves as the President of Students

for Fair Admissions, Inc. (SFFA). But he has no relevant information to offer at this trial.

       In a case about whether Harvard violates Title VI in its undergraduate admissions practices,

Mr. Blum has nothing to add. He has no personal knowledge about Harvard’s admissions practices.

Nor could he. Mr. Blum has never worked at Harvard, let alone worked in Harvard’s admissions

office. And he did not apply to or attend Harvard. Yet, Harvard wants to cross-examine Mr. Blum

about his political beliefs and motivations in founding SFFA, neither of which have any relevance to

the issues before the Court. Under Harvard’s reasoning, the presidents of membership associations

like the NAACP, ACLU, or Sierra Club could be called in every case those associations bring on

behalf of members to be questioned about their political beliefs. The Court should not set such a

precedent here.

       Aside from trying to explore Mr. Blum’s protected exercise of free speech, the only other

explanation Harvard could offer for calling Mr. Blum is to take yet another shot at revisiting this
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Court’s standing ruling. But this Court has already ruled that SFFA meets all of Article III’s standing

requirements. See Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 261 F. Supp. 3d

99 (D. Mass. 2017). And contrary to Harvard’s claim at the summary judgment stage, the Court did

not merely decide that SFFA’s standing “allegations sufficed at the pleading stage.” (D.I. 484 at

45.) Instead, the Court recognized it was “not restricted to the four corners of the Complaint and

‘may consider whatever evidence has been submitted, such as the depositions and exhibits’” that

Harvard relied upon in its motion. Students for Fair Admissions, 261 F. Supp. 3d at 103; see also id. at

10506. The Court’s decision that SFFA “meets the prerequisites laid out in Hunt and has the

associational standing necessary to pursue this litigation” continues to be law of the case. See id. at

11; Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 817 (1988); Harlow v. Children’s Hosp., 432

F.3d 50, 55 (1st Cir. 2005).

        Accordingly any testimony from Mr. Blum about SFFA, its mission, its members, or its

communications with its members relates to an issue this Court has already resolved. So that

testimony is not relevant to any fact that is of consequence in determining the remaining issues in

this action. See Fed. R. Evid. 401. For those reasons, SFFA does not intend to call Mr. Blum at trial,

and the Court should not allow Harvard to do so either.

        In addition, the Court has also already determined that testimony about the content of

SFFA’s communications with members, its board discussions, and its internal operations are all

irrelevant to the question of associational standing. See Students for Fair Admissions, Inc., 261 F. Supp.

3d at 111 n.15; see also D.I. 151. Testimony along those lines would infringe upon the First

Amendment rights of SFFA and its members. See, e.g., NAACP v. Ala. Ex rel. Patterson, 357 U.S. 449,

460 (1958); Perry v. Schwarzenegger, 591 F.3d 1147, 1160 (9th Cir. 2009).

        No matter how much Harvard wants to stick its head in the sand to try to ignore this Court’s

standing ruling, the ruling remains. Standing is no longer an issue that will be addressed at trial. Mr.


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Blum has no relevant testimony to offer concerning any of the remaining issues in the case. Harvard

should not be permitted to call him.

II.    MOTION IN LIMINE NO. 2: TO PRECLUDE EVIDENCE OR ARGUMENT
       THAT PORTIONS OF APPLICATIONS HARVARD REFUSED TO PRODUCE
       EXPLAIN THE OBSERVED ASIAN PENALTY ON THE PERSONAL RATING

       A defendant cannot show up to trial averring that evidence within its possession proves its

case when it refused to produce that evidence and assured the Court and its opponent that it would

not rely on it. But that is just what Harvard proposes to do. Against the undisputed evidence that

Asian-American applicants fare more poorly on Harvard’s subjective “personal rating” than all other

racial groups, Harvard’s expert complains:

               Prof. Arcidiacono’s personal ratings model cannot control for all
               information that Harvard relies on when assigning personal ratings
               (including but not limited to the personal essay, the full text of teacher
               and guidance counselor recommendation letters, any supplemental
               recommendation letters, and any comments from alumni interviewers
               that have arrived before the personal rating is assigned).

(Ex. 2, Card Rebuttal Report ¶ 7.) Notably, there is no evidence in the record that Asian-American

applicants fare more poorly in any of these categories—zero—other than the personal rating itself.

In other words, Harvard is taking the absence of these portions of the applications from the record

as permitting an inference that Asian-American applicants were outperformed by other applicants

on these metrics.

       That is an odd inference to be sure—faced with overwhelming evidence that race matters to

the personal score, Harvard assures us race does not matter and it must be something else.

Something else that they failed to identify any direct evidence of throughout hundreds of pages of

expert analysis. This is called assuming the conclusion—Asian-American applicants’ personal essays,

teacher recommendations, and guidance counselor recommendations must be worse than those

from white applicants because of course Harvard does not discriminate against Asian Americans.

This type of argument is impermissible. Harvard was required to explain why “‘missing’ variables”


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when “properly organized and accounted for” proved that “there was no significant disparity”

between Asian-American and white applicants. Bazemore v. Friday, 478 U.S. 385, 404 n.1415 (1986).

Dr. Card did not even try to meet this obligation. Instead, he wants to “declare simply that many

factors go into” the personal score and have that accepted as evidence that the personal score is

unaffected by race. Id. It would be “clear error” to allow him to do so. Id. at 404; see also Palmer v.

Shultz, 815 F.2d 84, 101 (D.C. Cir. 1987) (“Implicit in the Bazemore holding is the principle that a

mere conjecture or assertion on the defendant’s part that some missing factor would explain the

existing disparities between men and women generally cannot defeat the inference of discrimination

created by plaintiffs’ statistics.”).

        It is also an inference that breaks Harvard’s promise in discovery. SFFA specifically

requested a statistically significant sample of application files. (See, e.g., D.I. 94 at 2 (Aug. 7, 2015,

SFFA Reply re Motion to Compel).) Even back then SFFA noted that “Harvard [had] not disagreed

with the obvious proposition that SFFA cannot be denied access to materials which Harvard intends

to use to defend its admissions process.” (Id.) Harvard said so itself, through its counsel at the July

20, 2016 Status Conference. (D.I. 173 at 2627 (“They’re going to put on their case and we have to

defend against it and we can’t haul out at trial something that we have refused to produce to them,

and Your Honor has upheld, as a way of defending the case.”).) As the Court knows, SFFA never

got the requested statistically significant sample of full application files. And yet, with the nuance of

a lawyer, Harvard now says it can argue that the data it did not produce supports its case precisely

because it did not produce that data. In other words, Harvard thinks it is not “haul[ing] out at trial

something [it has] refused to produce” if it just says “the evidence in the full application files that we

refused to produce, if we did produce it, could show Asian Americans have worse essays.”

        When a party willfully destroys discoverable evidence, an adverse inference results. United

States v. Laurent, 607 F.3d 895, 902 (1st Cir. 2010) (“A ‘spoliation’ instruction, allowing


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an adverse inference, is commonly appropriate in both civil and criminal cases where there is

evidence from which a reasonable jury might conclude that evidence favorable to one side was

destroyed by the other.”). Harvard wants to argue for a bizarre cousin of the adverse inference—

that there should be a positive inference from evidence neither expert saw and Harvard refused to

produce. That positive inference allows Harvard’s expert to assume that the missing data explains

the otherwise “unexplained gap” between Asian Americans and Whites. (Ex. 2, Card Rebuttal

Report ¶ 51.)

        Harvard’s expert cannot point to the personal essays and recommendations as a potential

explanation for why Harvard rated Asian Americans worse than Whites, in the absence of any

evidence to support that assumption. It is no different than hauling those papers out at trial and

saying that they show such a thing. Actually it is worse, as there is no opportunity for SFFA to

subject that evidence to counter-analysis or cross-examination. The Court should bar Harvard from

making that argument.

        The Court should similarly bar Dr. Card’s assurances that the personal rating is not tainted

by race discrimination that merely dress up Harvard’s naked and conclusory denials with the

gossamer of expert jargon. Dr. Card admitted he only believes race does not influence the personal

score because Harvard’s Dean of Admissions assured him it did not. (Ex. 3, Card Dep. at 47:1120

(recounting telephone call and admitting no independent analysis to verify Dean Fitzsimmons

assertion).) Dr. Card never engaged in any expert analysis of the personal essays or teacher

recommendations to inform an opinion that Asian Americans are behind in any of those categories.

He just gets there from assuming that his client is innocent of the very charges the Court is here to

adjudicate. Incantation of “omitted variable bias,” does not substitute for analysis. (Ex. 2, Card

Rebuttal Report ¶¶ 7, 38-43.) Cf. Roger Edwards, LLC v. Fiddes & Son Ltd., 437 F.3d 140, 143 (1st Cir.

2006) (affirming sanctions imposed for district court motion under Rule 60(b) asserting fraud


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supported with “conclusory inference by the expert that alleged mistakes must have been dishonest

because there were a lot of technical problems with the labeling”).

       In sum, Dr. Card assumed the conclusion that the personal score is unaffected by race and

then engaged in a novel positive inference from evidence he did not see. This is not expert

testimony, it is evasion of Harvard’s commitments made to SFFA and the Court during discovery.

III.   MOTION IN LIMINE NO. 3: TO PRECLUDE UNDISCLOSED EXPERT
       TESTIMONY ABOUT THE OFFICE OF INSTITUTIONAL RESEARCH’S
       CONCLUSION THAT HARVARD’S ADMISSIONS SYSTEM IS BIASED
       AGAINST ASIAN AMERICANS

       Harvard proffered a single economist as an expert to conduct a statistical analysis of its

admissions data in this case, David Card. Having disclosed only Dr. Card, the Court should not

allow Harvard to elicit undisclosed expert testimony on this subject from other witnesses at trial.

       Both Harvard’s Office of Institutional Research (OIR) and Dr. Card performed logit

regressions to estimate the relationship between race and admissions outcomes—albeit at different

times and for different purposes. OIR concluded based on its analysis that Harvard’s admissions

system is biased against Asian Americans. In fact, in the following chart OIR showed that being

Asian American is the only race or ethnicity that decreases an applicant’s chances of admissions:




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(Ex. 4, Trial Ex. P9 at 9.) Despite these results, Dr. Card said next to nothing about OIR’s logit

regression in his report.

        In the over 300 pages of his initial and rebuttal reports, Dr. Card tries to dismiss OIR’s logit

regression as “basic” and “preliminary” in just one page. (Ex. 2, Card Rebuttal Report ¶ 54

(containing the entirety of Dr. Card’s response to OIR’s conclusions from both his initial and

rebuttal reports).) The only “basic” and “preliminary” analysis is Dr. Card’s own attempt at rebutting

the findings of Harvard’s internal research office that spent significant time and resources studying

the issue of bias against Asian-American applicants. Given how little attention Harvard’s lone

economist devoted to trying to rebut OIR’s conclusion, SFFA is concerned that Harvard may try to

elicit undisclosed expert testimony concerning OIR’s analysis.




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        At trial Harvard intends on calling Dean Rakesh Khurana, who has a background in

organizational sociology. During his deposition, Dean Khurana held himself out as having expertise

in logit regressions by offering off-the-cuff criticisms of OIR’s conclusion. He claimed that there are

“a lot of limitations to doing what are called fitted models” like the one OIR used. (Ex. 5, Khurana

Dep. at 253:1920.) And according to Dean Khurana, “models like this violate statistical and

hypothesis testing.” (Id. at 256:1314.) But of course, Dean Khurana was never identified as an

expert in this case. And he never issued an expert report explaining why he believes OIR’s logit

regression “violate[s] statistical and hypothesis testing.” See Fed. R. Civ. P. 26(a)(2)(B) (requiring

experts to disclose a “complete statement of all [their] opinions . . . and the basis and reasons for

them”); see also id. 26(a)(2)(C) (requiring even non-retained experts to disclose a “summary of the

facts and opinions” they expect to testify about). So Harvard should be precluded from offering

opinion testimony trying to undermine OIR’s analysis through Dean Khurana. See Fed. R. Evid. 701

(prohibiting fact witnesses from testifying “based on scientific, technical, or other specialized

knowledge”); see also Perez-Perez v. Popular Leasing Rental, Inc., 993 F.2d 281, 286 (1st Cir. 1993)

(reversing a district court that admitted “the testimony of a previously undisclosed medical expert”).




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Dated: September 17, 2018         Respectfully submitted,


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                           CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(a), the undersigned conferred with counsel for Defendant on

September 14, 2018, and Defendant objects to this motion.


                                                 /s/John M. Hughes




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system will be sent electronically

to the registered participants as identified in the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants on this 17th day of September, 2018.



                                                    /s/John M. Hughes




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